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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 UNITED STATES OF AMERICA ex rel.
 TINA HAIGHT

                      Plaintiff-Relator,
                                                           Civil Action No. 3:16-cv-1975-S
       v.

 RRSA (COMMERCIAL DIVISION), LLC,
 et al.,

                      Defendants.

                APPENDIX TO DEFENDANTS’ MOTION TO COMPEL

       Defendants RRSA (Commercial Division), LLC; Roofing & Restoration Services of

America, LLC; RRSA Commercial Roofing, Inc.; Haight Construction Management Services,

Inc.; Corey S. Sanchez; Jon R. Seymore; Jennifer N. Seymore and Ronald Scott Nichols

(collectively, “Defendants”) submit this Appendix in support of Defendants’ Motion to Compel

(“Motion”).

 No.            Description                                     Bates Numbers

                Defendants’ Requests for Production of          App.00001 – App.00007
       1        Documents to Plaintiff-Realtor, United
                States of America Ex Rel. Tina Haight
       2        Plaintiff-Relator’s Responses to Defendants’    App.00008 – App.00015
                Requests for Production
       3        Excerpts from the first deposition of           App.00016 – App.00021
                Plaintiff-Relator Tina Haight, dated
                November 16, 2021
       4        Excerpts from the second deposition of          App.00022 – App.00037
                Plaintiff-Relator Tina Haight, dated March 1,
                2022
       5        Order on Motion for Sanctions, filed on         App.00038 – App.00043
                January 10, 2017
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    Dated: March 16, 2022

                                  DVORAK LAW GROUP, LLC

                                  By:     /s/ Gretchen L. McGill
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                                  (COMMERCIAL DIVISION), LLC; ROOFING
                                  & RESTORATION SERVICES OF AMERICA,
                                  LLC; RRSA COMMERCIAL ROOFING, INC.;
                                  HAIGHT CONSTRUCTION MANAGEMENT
                                  SERVICES, INC.; COREY S. SANCHEZ; JON
                                  R. SEYMORE; JENNIFER N. SEYMORE AND
                                  RONALD SCOTT NICHOLS.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 16, 2022, a true and correct copy of the foregoing document
was served upon counsel of record via the Court’s CM/ECF filing system and via e-mail as
indicated below:

Darren P. Nicholson                                 Christopher A. Payne
Bobby Hill                                          Christina Alstrin
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                                                      /s/ Gretchen L. McGill
                                                      Gretchen L. McGill




                                                3
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA ex rel.      §
TINA HAIGHT,                          §
                                      §
                   Plaintiff-Relator, §
                                      §                   Civil Action No. 3:16-CV1975-S
V.                                    §
                                      §
RRSA (COMMERCIAL DIVISION), LLC;      §
ROOFING & RESTORATION SERVICES OF §
AMERICA, LLC; RRSA COMMERCIAL         §
ROOFING, INC.; HAIGHT CONSTRUCTION §
MANAGEMENT SERVICES, INC.; TURCO      §
CONSTRUCTION INC.; ANDREW’S           §
ROOFING & RESTORATION; CLARK          §
BUILDERS GROUP, LLC; CLARK            §
BUILDERS GROUP, LLC; HUNT             §
COMPANIES, INC.; LEND LEASE (US)      §
CONSTRUCTION, INC.; LEND LEASE (US) §
PUBLIC PARTNERSHIPS HOLDINGS, LLC; §
LINCOLN PROPERTY COMPANY;             §
HARPER CONSTRUCTION COMPANY;          §
INC.; WALSH CONSTRUCTION              §
COMPANY; COREY S. SANCHEZ; JON R.     §
SEYMORE; JENNIFER N. SEYMORE;         §
RONALD SCOTT NICHOLS; AND JOHN        §
DOES # 1-50; FICTITIOUS NAMES,        §
                                      §
                   Defendants.        §
_____________________________________

         DEFENDANTS RRSA (COMMERCIAL DIVISION), LLC; ROOFING &
        RESTORATION SERVICES OF AMERICA, LLC; RRSA COMMERCIAL
            ROOFING, INC.; HAIGHT CONSTRUCTION MANAGEMENT
      SERVICES, INC.; TURCO CONSTRUCTION INC.; ANDREW’S ROOFING &
           RESTORATION; COREY S. SANCHEZ; JON R. SEYMORE AND
           JENNIFER N. SEYMORE’S REQUESTS FOR PRODUCTION OF
             DOCUMENTS TO PLAINTIFF-RELATOR, UNITED STATES
                      OF AMERICA EX REL. TINA HAIGHT

TO:    United States of America ex rel. Tina Haight, Plaintiff-Relator, and her attorney of record,
       Andrew Miller, Baron & Budd, P.C., 600 New Hampshire Avenue NW, 10th Floor,
       Washington, DC 20037


DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS                              PAGE 1



                                                                                         App.00001
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       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, you are hereby requested to

produce and permit the undersigned to inspect and copy within thirty (30) days from the date of

the service hereof, the documents requested within this request for production of documents. Such

documents are to be sent to the undersigned’s attorneys, Dvorak Law Group, LLC 13625

California Street, Suite 110, Omaha, Nebraska 68154, for inspection and copying by such date.

                                          DEFINITIONS

       1.      “Document” shall mean any written, printed, typed or other graphic matter of any

kind or nature, all mechanical and electrical sound recording or transcript thereof, all photographic,

video tape or other visual record, in your possession or control or in the possession or control of

your agents, or known by you to exist; it shall also mean all copies of documents by whatever

means made.

       2.      “Identify” or “Identity” when used in reference to a document means to state the

date and author, type of document (e.g. letter, memoranda, telegram, chart, etc.) or some other

means of identifying it, and its present location and/or custodian. If any such document was but

is no longer in your possession or subject to your control, state what disposition was made of it

and the date of such disposition.    With respect to document identification, documents prepared

subsequent to the time or period specified in the interrogatories but which relate or refer to such

time or period are to be included.

       3.      “Identify” or “Identity” when used in reference to an individual person means to

state his full name and present business and home address, his present or last known position and

business affiliation and address, and his position and business affiliation at the time in question.

       4.      “You” or “Your” means you and your agents, and all other persons acting or

purporting to act on behalf of you or your agents.


DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS                                 PAGE 2




                                                                                            App.00002
   Case 3:16-cv-01975-S Document 241 Filed 03/16/22                  Page 6 of 46 PageID 5088


       5.      “You” or “Your” when used in reference to documents shall include documents in

your possession or custody or under your control or known by you to exist, as well as those

prepared by you unless otherwise stated.

       6.      As used herein, the terms “pertain to” or “relate to” mean refer to, reflect or in any

logically or factually manner connected with the matter discussed.

                              DOCUMENTS TO BE PRODUCED

REQUEST NO. 1:         All items pertaining to the allegations in Plaintiff’s Complaint, except

correspondence exclusively between your legal counsel and you.

       RESPONSE:



REQUEST NO. 2:         All items you sent to or received from Defendants, their attorneys or any

other agent of Defendants related to the allegations in Plaintiff’s Complaint.

       RESPONSE:



REQUEST NO. 3:         All items you sent to or received from the United States Government, their

attorneys or any other agent of United States Government related to the allegations in Plaintiff’s

Complaint.

       RESPONSE:



REQUEST NO. 4:         With regard to your allegation that Defendant’s violated the False Claims

Act, please produce all Documents and electronically-stored information on which you rely to

support such allegation.

       RESPONSE:



DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS                                PAGE 3




                                                                                           App.00003
   Case 3:16-cv-01975-S Document 241 Filed 03/16/22                   Page 7 of 46 PageID 5089


REQUEST NO. 5:         All tangible reports, physical models, compilations of date, inspections,

tests or other material prepared by and/or for any individual retained and/or expected to provide

expert testimony during the trial of the above-captioned lawsuit.

       RESPONSE:



REQUEST NO. 6:         All items your attorney, representative, agent, officer and/or director sent to

or received from any expert whose opinions may be presented at trial that (i) relate to compensation

for the expert’s study or testimony; (ii) identify facts or date provided to the expert and that the

expert considered in forming the opinions to be expressed; or (iii) identify assumptions provided

to the expert and that the expert relied on in forming the opinions to be expressed.

       RESPONSE:



REQUEST NO. 7:         All Documents, electronically stored information and tangible things

related to the properties and units the RRSA Defendants owned and/or operated that allegedly

support Plaintiff’s claims pursuant to Plaintiff’s Rule 26(a)(1) Initial Disclosures.

       RESPONSE:



REQUEST NO. 8:         All Documents, electronically stored information and tangible things

related to the RRSA Defendants’ payroll, tax, and banking information that allegedly support

Plaintiff’s claims pursuant to Plaintiff’s Rule 26(a)(1) Initial Disclosures.

       RESPONSE:




DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS                                 PAGE 4




                                                                                            App.00004
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REQUEST NO. 9:         All Documents, electronically stored information and tangible things

regarding the RRSA Defendants’ bidding materials, procurement opportunities, contracts,

subcontracts and bond reports that allegedly support Plaintiff’s claims pursuant to Plaintiff’s Rule

26(a)(1) Initial Disclosures.

       RESPONSE:



REQUEST NO. 10: All Documents, electronically stored information and tangible things

regarding payments made on behalf of the RRSA Defendants for the purpose of securing one or

more contracts that allegedly support Plaintiff’s claims pursuant to Plaintiff’s Rule 26(a)(1) Initial

Disclosures.

       RESPONSE:




DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS                                 PAGE 5




                                                                                            App.00005
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                                  Respectfully submitted,

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                                  & RESTORATION SERVICES OF AMERICA,
                                  LLC; RRSA COMMERCIAL ROOFING, INC.;
                                  HAIGHT CONSTRUCTION MANAGEMENT
                                  SERVICES, INC.; TURCO CONSTRUCTION
                                  INC.;   ANDREW’S       ROOFING    &
                                  RESTORATION; COREY S. SANCHEZ; JON
                                  R. SEYMORE AND JENNIFER N. SEYMORE




DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS              PAGE 6




                                                                          App.00006
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2020, a true and correct copy of the foregoing Request for
Production was served via e-mail upon the following parties:

Andrew Miller, Esq.                               Clay R. Mahaffey
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Attorney for Ronald Scott Nichols

                                                     /s/ Benjamin L. Riemer
                                                     Benjamin L. Riemer
5256247_1.docx/10518.00002




DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFFS                              PAGE 7




                                                                                         App.00007
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                            THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 UNITED STATES OF AMERICA ex rel.
 TINA HAIGHT,

                       Plaintiff-Relator,
                                                     CIVIL ACTION NO.: 3:16-cv-1975-S
           v.

 RRSA (COMMERCIAL DIVISION), LLC,
 et al.,

                      Defendants.


                          PLAINTIFF-RELATOR’S RESPONSES TO
                        DEFENDANTS’ REQUESTS FOR PRODUCTION

       Plaintiff-Relator Tina Haight (“Plaintiff”) answers Defendants’ Requests for Production as
follows:

       1.    All items pertaining to the allegations in Plaintiff’s Complaint, except
correspondence exclusively between your legal counsel and you.

       RESPONSE: Plaintiff objects to this request on the following grounds:

       •        The documents sought by the Request are irrelevant. The scope of this Request is
                inconceivably large; countless documents relate in some small way to the
                allegations in the Amended Complaint, the vast majority of which are likely
                irrelevant to the legal issues in the case. As one obvious example among many, this
                Request seeks all statements and communications related to background
                information, such as small-business contracting goals and regulations, Compl. ¶¶
                47-91, the formation and strictures of the Anti-Kickback Act, id. ¶¶ 92-100, and
                remedies under the False Claims Act for small-business fraud, id. ¶¶ 101-07.
                Furthermore, because the Request is not reasonably limited in time or scope, it
                plainly seeks information that is irrelevant to any claim or defense in this case.
                See, e.g., United States v. Baisden, 881 F. Supp. 2d 1203, 1207 (E.D. Cal. 2012)
                (“Because Defendant fails to specifically identify a defense or explain how the
                requested information is reasonably calculated to lead to admissible evidence, his
                requests exceed the limits of what a party may seek via discovery.”).

       •        The Request is disproportional to the needs of the case. Because the scope of this
                Request is inconceivably large and many of the documents sought by this Request
                are in the possession of Defendant or Defendant’s own employees or agents, it is
                impermissible under Fed. R. Civ. P. 26(b)(1). The importance of the issues at stake
                in the action and the amount in controversy do not justify the thousands of hours


                                               Page 1 of 8



                                                                                          App.00008
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    that would be required to compile the information sought by this Request, which
    is unlimited in time and nearly unlimited in scope, nor does the benefit of the
    information sought by this Request—most of which is irrelevant—outweigh this
    enormous burden. Furthermore, Defendant has greater access to many, if not
    most, of the documents sought by this Request and greater resources with which
    to undertake the appropriate investigation. Cf. Rollins v. Cone Distrib., Inc., No.
    4:15CV486-RH/CAS, 2016 WL 10650414, at *1 (N.D. Fla. Apr. 28, 2016)
    (“Discovery about the reason for the plaintiff’s termination is within the proper
    scope of discovery. A searching review of the defendant’s entire personnel
    operation is not.”).

•   The Request is vague, overly broad, unduly burdensome, and seeks information
    not in Plaintiff’s possession or that Plaintiff reasonably could obtain. For the
    reasons identified above, it would be impossible for Plaintiff to identify every
    document created by any person that relates in any way to any of the allegations
    in the Amended Complaint. Moreover, the vast majority of such documents
    certainly are in the possession of persons other than Plaintiff, and Plaintiff is not
    privy to the substance or existence of such documents. As explained above, it
    would take thousands of hours for Plaintiff to assemble the documents sought by
    this Request, which imposes an undue burden. See, e.g., Coleman v. Am. Red Cross,
    23 F.3d 1091, 1098 (6th Cir. 1994) (denying discovery request that “would have
    required the Red Cross to search every file that exists at National Headquarters
    for any documents that might be of any relevance to any matter in the case”).

•   This Request seeks material protected by the attorney-client privilege.
    “[T]he attorney-client privilege protects communications made in confidence by
    a client to his lawyer for the purpose of obtaining legal advice. The privilege also
    protects communications from the lawyer to his client, at least if they would tend
    to disclose the client’s confidential communications.” Hodges, Grant & Kaufmann
    v. I.R.S., 768 F.2d 719, 720-21 (5th Cir. 1985) (citations omitted). Plaintiff is
    withholding the otherwise responsive documents identified in the privilege log
    accompanying these responses.

•   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
    extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or
    legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
    Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
    that such documents “are never to be disclosed”). To the extent this Request seeks
    any of counsel’s investigatory material, Defendant has failed to demonstrate a
    substantial need for the material sought by this Request, and the substance of any
    such material can be obtained by Defendant by other means without undue
    hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
    13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
    direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
    responsive documents identified in the privilege log accompanying these
    responses.




                                    Page 2 of 8



                                                                                   App.00009
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       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.

       2.     All items you sent to or received from Defendants, their attorneys or any other agent
of Defendants related to the allegations in Plaintiff’s Complaint.

       RESPONSE: To the extent this Request seeks material sent by Plaintiff’s counsel to
Defendants’ counsel, or material sent by Defendants’ counsel to Plaintiff’s counsel,
Defendants are already in possession of any such items. Defendants, their agents, and their
attorneys have not otherwise given any items to Plaintiff, nor has Plaintiff given any items to
Defendants, their agents, or their attorneys.

       3.      All items you sent to or received from the United States Government, their
attorneys or any other agent of United States Government related to the allegations in Plaintiff’s
Complaint.

       RESPONSE: Plaintiff objects to this Request on the following grounds:

       •   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
           extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or
           legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
           Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
           that such documents “are never to be disclosed”). To the extent this Request seeks
           any of counsel’s investigatory material, Defendant has failed to demonstrate a
           substantial need for the material sought by this Request, and the substance of any
           such material can be obtained by Defendant by other means without undue
           hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
           13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
           direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
           responsive documents identified in the privilege log accompanying these
           responses.

       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.

        4.     With regard to your allegation that Defendant’s [sic] violated the False Claims Act,
please produce all Documents and electronically-stored information on which you rely to support
such allegation.

       RESPONSE: Plaintiff objects to this Request on the following grounds:

       •   This Request is duplicative of Requests 7, 8, 9, and 10.

       •   This Request essentially asks for a “narrative account” of Plaintiff’s entire case,
           which is overly broad and unduly burdensome. See Lucero v. Valdez, 240 F.R.D.



                                            Page 3 of 8



                                                                                         App.00010
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           591, 594 (D.N.M. 2007). The importance of the issues at stake in the action and the
           amount in controversy do not justify the many hours that would be required to
           compile the documents sought by this Request, nor does the benefit of the
           information sought by this Request outweigh this enormous burden.
           Furthermore, Defendant has greater access to much of the information sought by
           this Request and greater resources with which to undertake the appropriate
           investigation.

       •   This Request seeks material protected by the attorney-client privilege.
           “[T]he attorney-client privilege protects communications made in confidence by
           a client to his lawyer for the purpose of obtaining legal advice. The privilege also
           protects communications from the lawyer to his client, at least if they would tend
           to disclose the client’s confidential communications.” Hodges, Grant & Kaufmann
           v. I.R.S., 768 F.2d 719, 720-21 (5th Cir. 1985) (citations omitted). Plaintiff is
           withholding the otherwise responsive documents identified in the privilege log
           accompanying these responses.

       •   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
           extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or
           legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
           Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
           that such documents “are never to be disclosed”). To the extent this Request seeks
           any of counsel’s investigatory material, Defendant has failed to demonstrate a
           substantial need for the material sought by this Request, and the substance of any
           such material can be obtained by Defendant by other means without undue
           hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
           13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
           direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
           responsive documents identified in the privilege log accompanying these
           responses.

       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.

       5.      All tangible reports, physical models, compilations of date, inspections, tests or
other material prepared by and/or for any individual retained and/or expected to provide expert
testimony during the trial of the above-captioned lawsuit.

       RESPONSE: Plaintiff objects to this Request. The Request seeks premature
disclosure of expert materials in violation of Fed. R. Civ. P. 26(a)(2)(D) and the Scheduling
Order governing this case.

       Plaintiff is not withholding otherwise responsive material pursuant to this objection.

        6.     All items your attorney, representative, agent, officer and/or director sent to or
received from any expert whose opinions may be presented at trial that (i) relate to compensation
for the expert’s study or testimony; (ii) identify facts or date provided to the expert and that the



                                             Page 4 of 8



                                                                                          App.00011
  Case 3:16-cv-01975-S Document 241 Filed 03/16/22                Page 15 of 46 PageID 5097

expert considered in forming the opinions to be expressed; or (iii) identify assumptions provided
to the expert and that the expert relied on in forming the opinions to be expressed.

       RESPONSE: Plaintiff objects to this Request. The Request seeks premature
disclosure of expert materials in violation of Fed. R. Civ. P. 26(a)(2)(D) and the Scheduling
Order governing this case.

       Plaintiff is not withholding otherwise responsive material pursuant to this objection.

       7.      All Documents, electronically stored information and tangible things related to the
properties and units the RRSA Defendants owned and/or operated that allegedly support Plaintiff’s
claims pursuant to Plaintiff’s Rule 26(a)(1) Initial Disclosures.

       RESPONSE: Plaintiff objects to this Request on the following grounds:

       •   This Request is duplicative of Requests 4, 8, 9, and 10.

       •   This Request seeks material protected by the attorney-client privilege.
           “[T]he attorney-client privilege protects communications made in confidence by
           a client to his lawyer for the purpose of obtaining legal advice. The privilege also
           protects communications from the lawyer to his client, at least if they would tend
           to disclose the client’s confidential communications.” Hodges, Grant & Kaufmann
           v. I.R.S., 768 F.2d 719, 720-21 (5th Cir. 1985) (citations omitted). Plaintiff is
           withholding the otherwise responsive documents identified in the privilege log
           accompanying these responses.

       •   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
           extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or
           legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
           Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
           that such documents “are never to be disclosed”). To the extent this Request seeks
           any of counsel’s investigatory material, Defendant has failed to demonstrate a
           substantial need for the material sought by this Request, and the substance of any
           such material can be obtained by Defendant by other means without undue
           hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
           13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
           direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
           responsive documents identified in the privilege log accompanying these
           responses.

       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.

       This Request is vague, contains undefined terms (including “properties,” “units,” and
“claims”), and is phrased in a manner that makes it difficult to understand. Plaintiff
interprets this Request to seek all documents, electronically stored information, and tangible




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                                                                                        App.00012
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things that support Counts I-IV of the Complaint. In response to this Request, see the
documents labeled HAIGHT_00001 through HAIGHT_001673.

       8.      All Documents, electronically stored information and tangible things related to the
RRSA Defendants’ payroll, tax, and banking information that allegedly support Plaintiff’s claims
pursuant to Plaintiff’s Rule 26(a)(1) Initial Disclosures.

       RESPONSE: Plaintiff objects to this Request on the following grounds:

       •   This Request is duplicative of Requests 4, 7, 9, and 10. In her response to Request
           7, Plaintiff has already produced any documents responsive to this Request.

       •   This Request seeks material protected by the attorney-client privilege.
           “[T]he attorney-client privilege protects communications made in confidence by
           a client to his lawyer for the purpose of obtaining legal advice. The privilege also
           protects communications from the lawyer to his client, at least if they would tend
           to disclose the client’s confidential communications.” Hodges, Grant & Kaufmann
           v. I.R.S., 768 F.2d 719, 720-21 (5th Cir. 1985) (citations omitted). Plaintiff is
           withholding the otherwise responsive documents identified in the privilege log
           accompanying these responses.

       •   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
           extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or
           legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
           Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
           that such documents “are never to be disclosed”). To the extent this Request seeks
           any of counsel’s investigatory material, Defendant has failed to demonstrate a
           substantial need for the material sought by this Request, and the substance of any
           such material can be obtained by Defendant by other means without undue
           hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
           13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
           direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
           responsive documents identified in the privilege log accompanying these
           responses.

       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.

       9.      All Documents, electronically stored information and tangible things regarding the
RRSA Defendants’ bidding materials, procurement opportunities, contracts, subcontracts and
bond reports that allegedly support Plaintiff’s claims pursuant to Plaintiff’s Rule 26(a)(1) Initial
Disclosures.

       RESPONSE: Plaintiff objects to this Request on the following grounds:

       •   This Request is duplicative of Requests 4, 7, 8, and 10. In her response to Request
           7, Plaintiff has already produced any documents responsive to this Request.



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       •   This Request seeks material protected by the attorney-client privilege.
           “[T]he attorney-client privilege protects communications made in confidence by
           a client to his lawyer for the purpose of obtaining legal advice. The privilege also
           protects communications from the lawyer to his client, at least if they would tend
           to disclose the client’s confidential communications.” Hodges, Grant & Kaufmann
           v. I.R.S., 768 F.2d 719, 720-21 (5th Cir. 1985) (citations omitted). Plaintiff is
           withholding the otherwise responsive documents identified in the privilege log
           accompanying these responses.

       •   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
           extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or
           legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
           Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
           that such documents “are never to be disclosed”). To the extent this Request seeks
           any of counsel’s investigatory material, Defendant has failed to demonstrate a
           substantial need for the material sought by this Request, and the substance of any
           such material can be obtained by Defendant by other means without undue
           hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
           13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
           direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
           responsive documents identified in the privilege log accompanying these
           responses.

       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.

       10.     All Documents, electronically stored information and tangible things regarding
payments made on behalf of the RRSA Defendants for the purpose of securing one or more
contracts that allegedly support Plaintiff’s claims pursuant to Plaintiff’s Rule 26(a)(1) Initial
Disclosures.

       RESPONSE: Plaintiff objects to this Request on the following grounds:

       •   This Request is duplicative of Requests 4, 7, 8, and 9. In her response to Request
           7, Plaintiff has already produced any documents responsive to this Request.

       •   This Request seeks material protected by the attorney-client privilege.
           “[T]he attorney-client privilege protects communications made in confidence by
           a client to his lawyer for the purpose of obtaining legal advice. The privilege also
           protects communications from the lawyer to his client, at least if they would tend
           to disclose the client’s confidential communications.” Hodges, Grant & Kaufmann
           v. I.R.S., 768 F.2d 719, 720-21 (5th Cir. 1985) (citations omitted). Plaintiff is
           withholding the otherwise responsive documents identified in the privilege log
           accompanying these responses.

       •   This Request seeks work product protected by Fed. R. Civ. P. 26(b)(3)(A). To the
           extent this Request seeks counsel’s “mental impressions, conclusions, opinions, or


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                                                                                       App.00014
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           legal theories,” the work-product doctrine is inviolate. Fed. R. Civ. P. 26(b)(3)(B);
           Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 1, 4 (D.D.C. 2004) (holding
           that such documents “are never to be disclosed”). To the extent this Request seeks
           any of counsel’s investigatory material, Defendant has failed to demonstrate a
           substantial need for the material sought by this Request, and the substance of any
           such material can be obtained by Defendant by other means without undue
           hardship. See Fed. R. Civ. P. 26(b)(3)(A)(ii); Hickman v. Taylor, 329 U.S. 495, 509-
           13 (1947) (“[T]he essence of what petitioner seeks . . . is readily available to him
           direct from the witnesses for the asking.”). Plaintiff is withholding the otherwise
           responsive documents identified in the privilege log accompanying these
           responses.

       •   This request seeks material protected by the common-interest privilege. See Miller
           v. Holzmann, 240 F.R.D. 20, 22-24 (D.D.C. 2007). Plaintiff is withholding the
           otherwise responsive documents identified in the privilege log accompanying these
           responses.


Date: September 9, 2020                         Respectfully,

                                                /s/ Andrew M. Miller
                                                Andrew M. Miller – TX Bar No. 24041483
                                                BARON & BUDD, P.C.
                                                600 New Hampshire Ave. NW, 10th Floor
                                                Washington, DC 20037
                                                Tel. No.: 202.333.4562
                                                Attorney for Plaintiff-Relator


                               CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2020, I caused the foregoing Responses to
Defendants’ Interrogatories to be served via email upon counsel for Defendants RRSA
(Commercial Division), LLC; Roofing & Restoration Services of America, LLC; RRSA
Commercial Roofing, Inc.; Haight Construction Management Services, Inc.; Turco Construction
Inc.; Andrew’s Roofing & Restoration; Corey S. Sanchez; Jon R. Seymore; and Jennifer N.
Seymore’s Requests for Production of Documents to be served on counsel for Defendants RRSA
(Commercial Division), LLC; Roofing & Restoration Services of America, LLC; RRSA
Commercial Roofing, Inc.; Haight Construction Management Services, Inc.; Turco Construction
Inc.; Andrew’s Roofing & Restoration; Corey S. Sanchez; Jon R. Seymore; Jennifer N. Seymore;
and Ronald Scott Nichols.


                                                    /s/ Andrew M. Miller
                                                    Andrew M. Miller
                                                    Attorney for Plaintiff-Relator




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                                                                     Page 1
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
         UNITED STATES OF AMERICA ex rel. )
         TINA HAIGHT,                     )
                   Plaintiff-Relator,     )
         VS.                              ) CIVIL ACTION NO.
                                          ) 3:16-CV-1975-S
                                          )
         RRSA (COMMERCIAL DIVISION), LLC, )
         et al.,                          )
                   Defendants.            )


                 ******************************************
                       VIDEOTAPED ORAL DEPOSITION OF
                                TINA HAIGHT
                             NOVEMBER 16, 2021
                                  VOLUME 1

                   Page 211, Line 1 to Page 219, Line 21
                   Sealed and Bound Under Separate Cover
                 ******************************************


                     ORAL DEPOSITION OF TINA HAIGHT, a witness
         produced on behalf of the Defendants, and duly sworn,
         was taken in the above-styled and -numbered cause on
         the 16th day of November, 2021, from 9:31 a.m. to 8:04
         p.m., before Cynthia K. Honza, CSR in and for the State
         of Texas, recorded by machine shorthand, at the offices
         of Burns Charest LLP, 900 Jackson Street, Suite 500, in
         the City of Dallas, County of Dallas, and State of
         Texas, pursuant to the Federal Rules of Civil Procedure
         and the provisions stated on the record or attached
         hereto; that the deposition shall be read and signed
         before any notary public.


                         Amy Massey & Associates

                                                                   App.00016
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                                                                   Page 110
    1         Q.    Did they have -- did you review any e-mails?

    2         A.    E-mails from?

    3         Q.    Did you review any e-mails on those computers?

    4         A.    On those computers, no.

    5         Q.    Did you at any time after Marty's death review

    6    his e-mail accounts?

    7         A.    I don't know how to answer -- I don't know how

    8    to answer that, his e-mail accounts.           Like, did I

    9    access his e-mail?

   10         Q.    Yes.

   11         A.    No.

   12         Q.    Did you review any e-mails involving Marty on

   13    those or other computers?

   14         A.    On those computers, I didn't review them on

   15    the computer.

   16         Q.    How did you review the e-mails?

   17         A.    On a -- on a CD.

   18         Q.    And how did those e-mails end up on a CD?

   19         A.    The forensic.

   20         Q.    So did you also turn the computers over to a

   21    forensic company?

   22         A.    The e-mails and text messages from the phone.

   23         Q.    So what I want to understand is, other than

   24    government contracts, can you remember anything else

   25    you reviewed from Marty's computers?


                          Amy Massey & Associates

                                                                   App.00017
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                                                                   Page 112
    1         A.    No.

    2         Q.    It was Marty's computer?

    3         A.    I don't know.

    4         Q.    You don't know if it was Marty's computer?

    5         A.    No.

    6         Q.    You don't know whose computer it was?

    7         A.    No.

    8         Q.    You turned it over to the attorneys?

    9         A.    Yes.

   10         Q.    Have you ever seen a report of what was on

   11    that computer?

   12         A.    No.

   13         Q.    Did you contact the feds about the fact that

   14    you had located another computer?

   15         A.    I contacted my attorneys.

   16         Q.    Okay.    Now, in regard to the text message and

   17    e-mails, you reviewed those on a -- from Marty's phone,

   18    phones.    You received those on a CD?

   19         A.    Yes.

   20         Q.    How many CDs did you receive?

   21         A.    I don't remember.

   22         Q.    Approximately how many hours have you spent

   23    reviewing that information?

   24         A.    A lot.

   25         Q.    More than twenty?


                          Amy Massey & Associates

                                                                   App.00018
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                                                                   Page 207
    1    we're talking about here, that Marty was discussing

    2    corporate matters with his lawyers?

    3         A.    Yes.

    4         Q.    Okay.    And when you sold the company to Corey

    5    Sanchez and others, did you return their

    6    attorney-client privileged communications to the

    7    company?

    8         A.    I gave them to the attorneys.

    9         Q.    That wasn't my question.        My question was, did

   10    you give Corey Sanchez or anyone else at RRSA

   11    Commercial or RRSA a copy of the e-mails of the

   12    corporate correspondence between counsel?

   13         A.    No.

   14                       MS. ANSON:   Let's take a five-minute

   15    break.

   16                       VIDEOGRAPHER:   We're off record at

   17    3:57 p.m.

   18                       (Off the record, 3:57 to 4:30 p.m.)

   19                       VIDEOGRAPHER:   We're back on record at

   20    4:30 p.m.

   21                       MS. ANSON:   Prior to the break in the

   22    deposition, Ms. Haight had identified certain documents

   23    she had reviewed that had correspondence between Marty

   24    Haight and certain lawyers at certain law firms, and

   25    then we discussed the corporate nature of some of those


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                                                                   App.00019
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    1    documents, and I asked counsel if they had possession

    2    of those documents.      And I'll let Mr. Payne identify

    3    what their response is.

    4                     MR. PAYNE:    It's our understanding that

    5    those were contained on CDs or DVDs that were furnished

    6    by Ms. Haight to Andrew Miller.           Andrew Miller then

    7    transferred those to us.       Whether those have been

    8    uploaded, whether they're corrupted, at this point none

    9    of us knows.     And the individual who was working on

   10    that was a paralegal by the name of Julianna, who is on

   11    pregnancy leave right now.        We have someone working on

   12    trying to determine right now whether or not we have

   13    those in a produceable format, and I can't answer that

   14    until I get a report from him, but I don't expect that

   15    I'm going to get it until sometime later tonight or

   16    tomorrow.

   17                     MS. ANSON:    And for purposes of the

   18    record, none of those documents have been produced to

   19    us in this litigation to date.            On 9/9 of '20, we

   20    received answers to our first set of requests for

   21    production of documents that specifically in numerous

   22    requests requested such documents, and we have not

   23    received them to date.       We'll see where we are at the

   24    end of the deposition in terms of the discovery and the

   25    availability of those, but for now we'll continue with


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                                                                    App.00020
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                                                                    Page 209
    1    the deposition.

    2         Q.     (BY MS. ANSON)      Ms. Haight, you understand

    3    you're still --

    4                       MR. PAYNE:    And for the record, I'm not

    5    agreeing that we've received requests that were

    6    responsive to these or that we haven't turned any of

    7    them over.

    8                       MS. ANSON:    Well, do you have any Bates

    9    numbers that you can identify where such documents --

   10                       MR. PAYNE:    As I'm sitting here right now,

   11    no, I don't.

   12                       MS. ANSON:    Okay.    So let me finish my

   13    question.     My understanding, as we sit here today,

   14    there's no ability to identify, one, whether the

   15    documents have been produced; two, any Bates labels

   16    associated with the documents; and three, whether the

   17    documents have even been uploaded to date?

   18                       MR. PAYNE:    I don't have the ability to

   19    tell you that.       That's accurate.

   20         Q.     (BY MS. ANSON)      Ms. Haight, you understand

   21    you're still under oath?

   22         A.     Yes.

   23         Q.     And just prior to the break, we were talking

   24    about documents that you reviewed, which were between

   25    Marty Haight and certain lawyers?


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                                                                    App.00021
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